                                UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE         DIVISION
                                  DOCKET NO. 3:22-cv-00191
 Kanautica Zayre-Brown                                   )
                                                         )
          Plaintiff,                                     )
                                                         )
vs.                                                      )           MOTION FOR ADMISSION
                                                         )               PROHAC VICE
 The North Carolina Department of Public Safety, et al
                                                         )               and AFFIDAVIT
                                                         )
          Defendant.                                     )
                                                         )
_______________ )
        NOW COMES Jaclyn A. Maffetore                                ("Local Counsel"), a member in good
standing with the Bar with the United States District Court for the Western District of North
Carolina ("WDNC"), and moves for the admission of _J_o n_ W_._D_av_i_d_so_n_ _ _ _ _ __
("Applicant"), who seeks permission to represent Kanautica Zayre-Brown (Plaintiff)



- - - - - - - - -- - - - - - - - - - ("Client") in this above-captioned case.
        By signing this motion, Local Counsel and Applicant certify that:
        1.        Applicant is a member in good standing of the bar of the highest court of the State
or of the District of Columbia where Applicant regularly practices law, which is
California

        2.         Applicant practices under the name of or as a member of the following firm :
Firm Name: American Civil Liberties Union Foundation
Mailing Address: 125 Broad Street
City/ State/ Zip: New York, NY 10004
Telephone Number: 323-538-9880                               Facsimile Number: 212 - 549- 2650
Email Address {required):_jo_n_d_a_vi_._d_s_on_@_a_c_lu_._o_r_g_ _ _ _ _ _ _ _ _ _ _ _ __




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        3.       Applicant certifies that s/he is also admitted to practice before and remains in good
standing with the Courts in the following jurisdictions:
U.S. Supreme Court; 4th Circuit Court of Appeals; 7th Circuit Court of Appeals; 9th Circuit Court of Appeals;

10th Circuit Court of Appeals; Central District of California; Northern District of California

        4.       Applicant certifies s/he has never been the subject of any formal suspension or
disbarment proceedings; never been denied admission pro hac vice in this or any other jurisdiction
or had pro hac vice admission revoked; never had any certificate or privilege to appear and practice
before any judicial or administrative body suspended or revoked; and has never received public
discipline by any court or lawyer regulatory organization. If Applicant cannot so certify, the
applicant has attached a separate explanation including particular information disclosing the
disciplinary history or the denial of admission.
        5.       Applicant certifies that the client requested Applicant to represent it in this matter,
along with Local Counsel.
        6.       Applicant agrees to be subject to the Orders of the WDNC, including the Local
Rules of the WDNC, and amenable to the disciplinary action and the civil jurisdiction of the
WDNC in all respects as if the applicant were a regularly admitted and licensed member of the
Bar of this Court in good standing.
        7.       Local Counsel is satisfied that Applicant is qualified to practice before the Bar of
theWDNC.
        8.       Local Counsel has conferred with counsel for the other parties, who have indicated
they do not oppose this motion.
        9.       The required fee for admission pro hac vice is being submitted with the filing of
this motion.
        10.      Applicant consents to electronic notification.




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           By signing this Motion, we so certify.
           This, the _      l_l--\vl
                                 __ day of_~
                                           \jl-L-A~~- - - - - ' 2022 .




           Localr!!JJF=
     Attorney Name Jaclyn A. Maffetore
                                                                 Applicant

        Bar Number 50849
         Firm Name ACLU of North Carolina Legal Foundation
       Firm Address P.O. Box 28004
Firm City/ State/ Zip Raleigh, NC 27611-8004
  Telephone Number (919) 834-3466
        Fax Number (919) 869-2075
      Email Address jmaffetore@aclu.ofnc.org




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